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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


    MANAGEMENT REGISTRY, INC.,                               Case No. 0:17-cv-05009-JRT-KMM

          Plaintiff/Counterclaim Defendant,

    v.
                                                                   REPORT AND
    A.W. COMPANIES, INC.; ALLAN K.                              RECOMMENDATION
    BROWN; WENDY BROWN; and
    MILAN BATINICH;

          Defendants/Counterclaim Plaintiffs.


         This matter is before the Court on two dispositive motions filed by the defendants,

A.W. Companies, Inc. (“AW”), Allan K. Brown, Wendy Brown, and Milan Batinich.1

They ask the Court to strike the Management Registry, Inc.’s (“MRI”), request for

punitive damages from the Second Amended Complaint (“SAC”) filed on July 12, 2019.

(Defs.’ Mot. to Strike, ECF No. 256; Defs.’ Mem. in Supp. of Mot. to Strike (“Strike

Mem.”), ECF No. 257; SAC, ECF No. 251.) Further, the defendants ask the Court to

dismiss each of the thirteen counts from the SAC for failure to state a claim pursuant to

Federal Rule of Civil Procedure 12(b)(6).2 (Defs.’ Mem. in Supp. of Mot. to Dismiss

(“MTD Mem.”), ECF No. 266.) The Court generally agrees that the SAC contains too



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        On July 26, 2019 the District Court referred these dispositive motions to the undersigned for a
report and recommendation. (ECF No. 259.) In this R&R, the Court refers to the defendants collectively
as “defendants,” to Allan Brown individually as “Mr. Brown,” and to Wendy Brown individually as
“Ms. Brown.”
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       As discussed below, the defendants argue that one claim should be dismissed for improper venue
under Rule 12(b)(3).


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many claims for effective determination by a jury at trial. But that impression does not

support dismissing otherwise properly pled counts at this stage. For the reasons that

follow,3 the Court recommends that the defendants’ motion be denied.

I.      Motion to Dismiss

        The defendants’ motion to dismiss asserts that every count in the SAC should be

dismissed for failure to state a claim, pursuant to Federal Rule of Civil Procedure

12(b)(6). The standard for analyzing a motion to dismiss under this Rule is familiar. To

survive a Rule 12(b)(6) motion to dismiss, a complaint must contain “enough facts to

state a claim to relief that is plausible on its face.” Bell Atl. v. Twombly, 500 U.S. 544,

570 (2007). This standard does not require the inclusion of “detailed factual allegations”

in a pleading, but the complaint must contain facts with enough specificity “to raise a

right to relief above the speculative level.” Id. at 555. “Threadbare recitals of the

elements of a cause of action, supported by mere conclusory statements,” are not

sufficient. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at 555).

        In applying this standard, the Court must assume the facts in the complaint to be

true and must construe all reasonable inferences in the light most favorable to the

plaintiff. Morton v. Becker, 793 F.2d 185, 187 (8th Cir. 1986). But the Court need not

accept as true any wholly conclusory allegations, Hanten v. School District of Riverview




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         As the factual allegations in this litigation are familiar to the parties, the undersigned, and the
District Court, the R&R will not include a lengthy recitation of the factual background. Instead, the Court
will discuss only the relevant facts in the context of analyzing each issue raised by the defendants’ motion
to dismiss.


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Gardens, 183 F.3d 799, 805 (8th Cir. 1999), or legal conclusions that the plaintiff draws

from the facts pled, Westcott v. City of Omaha, 901 F.2d 1486, 1488 (8th Cir. 1990).

       A. “Shotgun Style” Pleading

       The defendants complain that several counts in the SAC are alleged “shotgun

style,” meaning that the allegations are asserted against the “defendants” collectively, but

do not identify the individual actor whose conduct is alleged to have given rise to the

claim. (See, e.g., MTD Mem. at 14–15 (arguing that the tortious interference claim fails

“because it is pled shotgun style against every defendant” and citing SAC ¶¶ 130–31).)

The problem with this argument is that it focuses on the paragraphs setting forth the

various “counts” in the SAC, but ignores detail provided through the factual allegations

in the fifty-four page pleading. The Court is required to read the SAC as a whole to

determine whether claims are plausibly alleged. Through this appropriate lens, the SAC

adequately articulates the conduct of each defendant that, if true, would support each

claim. Therefore, the Court rejects this argument.

       B. Common Law Fraud Claim (Count II)

       The defendants argue that the common-law fraud claim in Count II of the SAC

should be dismissed. For several reasons, the Court concludes that none of the challenges

to Count II carries the day and dismissal is not required.

       To state a claim for common law fraud under Minnesota law, a complaint must

plausibly allege facts establishing the following elements:

       (1) a false representation of a past or existing material fact susceptible of
       knowledge; (2) made with knowledge of the falsity of the representation or
       made without knowing whether it was true or false; (3) with the intention to


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       induce action in reliance thereon; (4) that the representation caused action
       in reliance thereon; and (5) pecuniary damages as a result of the reliance.

U.S. Bank N.A. v. Cold Spring Granite Co., 802 N.W.2d 363, 373 (Minn. 2011). In

addition, the Federal Rules of Civil Procedure require a party alleging fraud to “state with

particularity the circumstances constituting fraud....” Fed. R. Civ. P. 9(b). “Rule 9(b)

requires plaintiffs to plead the who, what, when, and how: the first paragraph of any

newspaper story.” Zayed v. Associated Bank, N.A., 779 F.3d 727, 733 (8th Cir. 2015)

(internal quotations omitted). Even applying the heightened standards of Rule 9(b) to

Count II, the Court concludes that the defendants’ motion to dismiss is unpersuasive.

              Specificity

       The defendants first argue that MRI failed to plead Count II with the specificity

required by Fed. R. Civ. P. 9(b). (Dismissal Mem. at 5–9.) The Court finds otherwise.

The SAC identifies the alleged false statements with adequate precision. For example,

MRI alleges that Mr. Brown and Ms. Brown “falsely told Mr. Berg that Ms. Brown had

already purchased ARI, and that Mr. Berg would be part owner of the acquired business.”

(SAC ¶ 61.) This false statement allegedly induced Mr. Berg, while he was still employed

by MRI, to cancel MRI’s contracts, solicit its customers for business with Ms. Brown’s

new company, and convince MRI employees that they in fact worked for Ms. Brown.

(Id.; see also id. ¶¶ 101–05.) Ms. Brown allegedly misrepresented that she had purchased

the Jeane Thorne business in a statement to Brenda McNamara, an MRI employee, which

then allegedly induced Ms. McNamara to copy files from her computer (including MRI

contracts and other business documents) to her personal e-mail account for use at AW.



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(SAC ¶ 67; id. ¶¶ 106–09.) Mr. Brown allegedly misrepresented that he was not receiving

a commission as part of MRI’s acquisition of Mr. Brown’s businesses, and MRI allegedly

relied on that statement when it decided to offer him employment following the

acquisition. (SAC ¶¶ 98–100.) The Court finds these allegations are sufficiently particular

to satisfy Rule 9(b) and, if true, support an inference that Mr. Brown and Ms. Brown

made intentional misrepresentations with the purpose of inducing MRI’s reliance.

              Reliance

       The defendants argue that the common-law fraud claim must be dismissed because

MRI does not plead facts supporting justifiable reliance. (MTD Mem. at 5–9.) The Court

is not persuaded by this argument either. Taking the allegations in the SAC as true,

Mr. Brown’s false statement that he was not receiving a commission as a result of the

acquisition of the AllStaff business induced MRI to offer him employment following the

acquisition. As articulated in the SAC, Mr. Brown “marketed the Acquired Businesses in

such a manner as to suggest that MRI could rely upon his judgment and assessment, since

he was not receiving a commission or other similar compensation as a result of his

services,” eventually “leading MRI to desire Mr. Brown to continue serving as President

of the Division that encompassed the vast majority of the Acquired Businesses….” (SAC

¶¶ 24–25.) Berg and McNamara, acting as MRI employees, allegedly relied on

Ms. Brown’s false statements about her ownership of the ARI and Jeane Thorne Staffing

business divisions to MRI’s detriment. The SAC adequately alleges that, had Ms. Brown

told the truth about the fact that she was not the rightful owner of those divisions of the




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MRI business, MRI’s employees would not have taken the actions that MRI claims

damaged its business.

       Relatedly, the Court is not persuaded that the circumstances of this case require a

conclusion that MRI’s fraudulent-inducement claim against Mr. Brown should be

dismissed because reliance was unjustified as a matter of law. The defendants rely on

Boyd v. DeGardner Realty & Constr., 390 N.W.2d 902 (Minn. Ct. app. 1986), to argue

that MRI could not justifiably rely on any promises that directly contradict written

agreements. (See MTD Mem. at 7–8.) In Boyd, the Minnesota Court of Appeals noted

case law holding that “where an oral representation completely contradicts a written

contract provision, reliance on the oral representation is unjustifiable as a matter of law.”

390 N.W.2d at 904. Similarly, in Crowell v. Campbell’s Soup Co., 264 F.3d 756 (8th Cir.

2001), the Eighth Circuit held that chicken growers could not justifiably rely on a

processor’s alleged oral promise to only terminate contracts for cause when the

agreements provided the processor a unilateral termination right and contained a

complete integration clause. Id. at 759–60, 762–63 (“We agree with the district court that

any reliance by the Growers on the three alleged oral promises made by [the processor]

was unreasonable as a matter of law because each of the alleged oral promises plainly

contradicted the terms of the written contract.”).

       However, it is equally true under Minnesota law that “[w]hen a promise is not in

plain contradiction of a contract, or if contradictory, when it is accompanied by

misrepresentations of other material facts in addition to the contradictory intent, the

question of reliance is for the trier of fact.” Crowell, 264 F.3d at 762 (citing Commercial


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Prop. Invs., Inc. v. Quality Inns Int’l, Inc., 938 F.2d 870, 876 (8th Cir. 1991)). The

Commercial Prop. Invs. court found that a plaintiff’s fraud claim could proceed even

though the parties’ contract contained an integration clause because the defendant made

repeated statements about the viability of a hotel franchise to the plaintiff that were not in

plain contradiction to the contract. Id.at 875–76.

       Here, the defendants fail to identify any provision of the Stock Purchase

Agreement that directly contradicts Mr. Brown’s alleged false statement that he would

not be receiving a commission as a result of the Stock Purchase Agreement, making this

case readily distinguishable from Boyd. Indeed, the SAC alleges that “Mr. Brown illicitly

received sales commissions from the sale to MRI even though the sellers confirmed, in

each of the Agreements, that no such commissions were paid, and even though each of

the Agreements specifically precluded any such commissions.” (SAC ¶ 15.) The

defendants’ argument that the reliance alleged in Count II fails as a matter of law does

not carry the day.

              False Statements to MRI Employees

       The defendants argue that Ms. Brown’s alleged misrepresentations to Berg and

McNamara are not actionable as a matter of law because Berg and McNamara are

employees of MRI and no false statements were made to MRI itself. In support of this

argument, the defendants rely on Schaaf v. Residential Funding Corp., No. 05-cv-1319

(JNE/SRN), 2006 WL 2506974 (D. Minn. Aug. 29, 2006) (Order adopting R&R), and

Vikse v. Flaby, 316 N.W.2d 276, 284 (Minn. 1982). These cases do not support dismissal

under Rule 12(b)(6).


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       In both Vikse and Schaaf, the relevant issue was whether a claim for fraud can be

based on a defendant’s alleged misrepresentation to a third party. Vikse, 316 N.W.2d at

284 (concluding that a fraud claim was actionable where an independent contractor

provided the plaintiff with false information about a company’s finances that the

contractor received from the defendants where the defendants “knew and intended that

[the contractor] would be passing on [the false] information to potential investors”);

Schaaf, 2006 WL 2506974, at *17 (concluding that the plaintiffs failed to state a fraud

claim because the defendant’s misrepresentations were not alleged to have reached the

individual investor plaintiffs until after they made investment decisions and received the

written prospectus containing the false statements). Both involved a question of whether

the allegedly fraudulent statement reached the plaintiff, but neither stands for the

proposition that misrepresentations made to the plaintiff’s own employees do not reach

the corporate plaintiff itself. Here, the plaintiffs’ fraud theory is that Ms. Brown lied to

Berg and McNamara about the status of her ownership of two divisions of MRI’s

business; Berg and McNamara were MRI employees at the time; and Berg and

McNamara, as agents of MRI, relied on Ms. Brown’s allegedly false statements when

they took actions that were detrimental to MRI’s business interests. In light of this reality,

Vikse and Schaaf do not require dismissal of the fraud claims.

       Ultimately, the Court cannot conclude that MRI fails to state any actionable fraud

claim based on the alleged flaws identified in the defendants’ motion to dismiss.




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       C. Deceptive Trade Practice Act Claim (Count V)

       The defendants next assert that the Court should dismiss the claims under the

Minnesota Deceptive Trade Practice Act (“MDTPA”), Minn. Stat. § 325D.44, in Count V

of the SAC. Specifically, the defendants argue that the MDTPA claim fails because MRI

has not alleged there is any likelihood of future harm. (MTD Mem. at 10–11.) The

defendants also argue that the SAC does not describe with particularity what products or

services of MRI the defendants allegedly passed off as their own. (Id. at 11.)

              Likelihood of Future Harm

       Under the MDTPA, “[a] person likely to be damaged by a deceptive trade practice

of another may be granted an injunction against it under the principles of equity and on

terms that the court considers reasonable.” Minn. Stat. § 325D.45, subd. 1. A plaintiff

alleging an MDTPA claim must show a likelihood of future harm because the statute

provides relief only “from future damage, not past damage.” Gardner v. First Am. Title

Ins. Co., 296 F. Supp. 2d 1011, 1020 (D. Minn. 2003).

       The Court concludes that MRI adequately alleges a likelihood of future harm. The

SAC alleges that the defendants engaged in deceptive practices by: (1) falsely stating that

Ms. Brown owned the All-Calls and Jeane Thorne divisions of MRI’s business;

(2) telling MRI customers that they were released from their contracts with MRI’s

affiliates and subsidiaries; (3) changing the name on the billing for MRI’s clients to

reflect that the bills were coming from AW; (4) changing the names on contracts from

MRI’s legitimate company to AW without MRI’s knowledge; and (5) palming off MRI’s

products and services under AW’s name and illegally receiving compensation for those


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services. (SAC ¶ 123(a)–(e).) In Paragraph 125 of the SAC, MRI alleges that “there is no

complete adequate remedy at law” for this conduct and that it is “continuing in nature,

and will continue unless properly enjoined.” (Id. ¶ 125.) Standing alone, the allegation in

Paragraph 125 of the SAC might be too conclusory a statement, as the defendants

contend, 4 to meet the pleading standards governing Rule 8 and motions to dismiss under

Rule 12(b)(6). But this allegation does not stand alone. Read in conjunction with the

allegations that AW essentially sniped MRI’s own customers through the use of

deceptive and misleading statements about the source of the services being provided, the

SAC provides a sufficient basis to support a claim of future harm.

              “Palming Off”

       The defendants next assert that the SAC “does not detail what products or services

were ‘palmed off.’ The reality is that MRI never did business in Minnesota so there could

be no confusion. Further, the only parties with standing would be those confused—not

MRI. This claim just doesn’t belong here and should be dismissed.” (MTD Mem. at 11.)

       As in other locations in their memorandum, the defendants essentially ask the

Court to do their work for them. They provide no citation to case law to support the

argument that MRI lacks standing to complain about the defendants’ alleged deceptive

practices. Moreover, the defendants’ assertion about “the reality … that MRI never did

business in Minnesota” does not address the adequacy of plaintiff’s allegations, but




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       Defs.’ Reply at 3, ECF No. 289.


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introduces a question of fact inappropriate in the Rule 12(b)(6) context. These arguments

are not enough to support dismissal at this stage.

       The Court declines to recommend that Count V of the SAC be dismissed.

       D. Tortious Interference Claim (Count VI)

       The defendants argue that MRI has failed to adequately plead any of the elements

of tortious interference with contract and tortious interference with prospective economic

advantage in Count VI of the SAC. (MTD Mem. at 12–19.) As explained below, the

Court disagrees with both assertions and finds that the allegations in Count VI are

adequately pled.

       A claim for tortious interference with contract requires the plaintiff to plead the

following elements: “(1) the existence of a contract; (2) the alleged wrongdoer’s

knowledge of the contract; (3) intentional procurement of its breach; (4) without

justification; and (5) damages.” St. Judge Medical, S.C., Inc. v. Biosense Webster, Inc.,

994 F. Supp. 2d 1033, 1048 (D. Minn. 2014) (quoting Kallok v. Medtronic, Inc., 573

N.W.2d 356, 362 (Minn. 1998)).

       A claim for tortious interference with prospective business advantage requires a

showing of the following elements:

       (1) the defendant intentionally and improperly interfered with the
       prospective contractual relationship; (2) causing pecuniary harm from the
       loss of the relationship’s benefits; and (3) the interference either (a) induced
       or caused a third person not to enter into or continue the prospective
       relationship or (b) prevented the continuance of the prospective
       relationship.




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Matson Logistics, LLC v. Smiens, No. CIV. 12-400 ADM/JJK, 2012 WL 2005607, at *11

(D. Minn. June 5, 2012) (quoting United Wild Rice, Inc. v. Nelson, 313 N.W.2d 628, 633

(Minn.1982)).

                Tortious Interference by AW

        Defendants argue that the SAC contains no facts that could support a claim for

tortious interference with contracts against AW. (MTD Mem. at 12–13.) Specifically,

they assert that the SAC fails to state a claim for tortious interference with Mr. Brown’s

employment agreement because AW is not alleged to have existed until two or three days

after Mr. Brown resigned from MRI. (Id.) This argument echoes the District Court’s

rationale for denying MRI’s motion for preliminary injunction.5 Of course, the District

Court’s analysis was not based on the standard governing a Rule 12(b)(6) motion, and its

decision was issued more than a year before the SAC was filed. In the SAC, the plaintiff

alleges that, after its formation, AW “currently employs, or has employed,” a number of

MRI’s employees, including Mr. Brown, whose relationship to MRI was governed by

noncompete and nonsolicitation provisions. (SAC ¶ 74.) MRI’s claim is that AW has

engaged in “on-going and continuing breaches” of those agreements. (Pl.’s Resp. at 9.)

MRI argues that it is immaterial that Mr. Brown resigned before AW was officially

incorporated because, after AW’s formation, AW induced Mr. Brown to breach the still




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        Order (Jan. 16, 2018), ECF No. 98 at 11 (concluding that MRI failed to show a likelihood of
success on the merits on its tortious interference claim because “MRI did not articulate how A.W. –
which came into legal existence on October 30 – intentionally procured either of Mr. Brown’s or
Mr. Berg’s alleged breaches on or after October 30”).


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effective non-compete and non-solicitation provisions from his contract with MRI. (Pl.’s

Resp. at 8–9.)

        The Minnesota Supreme Court’s decision in Kallok v. Medtronic, 573 N.W.2d 356

(Minn. 1998), supports the Court’s conclusion that the SAC states a plausible claim that

AW tortiously interfered with Mr. Brown’s non-compete agreement. The Kallok court

held that “if a noncompete agreement is deemed valid and if the elements of tortious

interference are established, interference with the noncompete agreement by a third party

is a tort for which damages are recoverable.” Id. at 361. The SAC alleges that Mr. Brown

and MRI had an enforceable noncompete agreement; that AW knew of Mr. Brown’s

noncompete agreement with MRI; that despite that knowledge, AW induced Mr. Brown

to breach his noncompete agreement with MRI, using misrepresentations to establish

relationships between MRI’s customers and Mr. Brown; that AW lacked justification to

induce Mr. Brown to form those relationships with MRI’s customers because it was

aware that his noncompete agreement prohibited them; and that this has harmed MRI’s

business. This is sufficient to state a claim for tortious interference with Mr. Brown’s

noncompete agreement with MRI against AW.6

                Failure to Plead Absence of Justification

        The defendants also argue that MRI fails to plead an absence of justification as to

the acts of any defendant, thereby failing to allege a critical element of the claims in


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         The defendants also argue that the SAC fails to state a tortious interference claim against AW
relating to Mr. Berg’s contract because Berg’s alleged breaches occurred within the 48 hours immediately
following AW’s creation without any allegation that AW contacted Berg during that period. (MTD Mem.
at 13.) However, the SAC sufficiently alleges that AW induced Mr. Berg to breach his noncompete and
agreement with MRI. (SAC ¶¶ 61, 128–32.)


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Count VI. (MTD Mem. at 16.) The Court notes that the burden of proving a defendant

was justified in its actions of procuring a breach of contract is on the defendant and the

issue ordinarily requires a factual determination of “what is reasonable conduct under the

circumstances.” Kallok, 573 N.W.2d at 362. The defendants point to no facts in the SAC

that establish their alleged conduct was reasonable under the circumstances. Based on the

Court’s detailed review of the SAC’s allegations, which are taken as true at this stage,

MRI adequately shows that the defendants acted without justification in interfering with

noncompete and nonsolicitation employee agreements and in interfering with MRI’s

contracts with its customers.

              No Independently Tortious Conduct

       The defendants argue that the SAC does not allege any independently tortious or

unlawful conduct that would support a claim for prospective economic advantage. (MTD

Mem. at 17–18.) The Court disagrees. The SAC adequately alleges that AW, Ms. Brown,

Mr. Brown, and Mr. Batinich all made a slew of intentional misrepresentations designed

to steal business from MRI. That conduct forms the basis for several tort claims that are

separate from the alleged interference with prospective economic advantage. For

example, Ms. Brown, on behalf of AW, is alleged to have used misrepresentations to an

MRI employee to gain access to MRI’s confidential information (an alleged

misappropriation of trade secrets), which was then further used to interfere with MRI’s

relationships to its customers. (SAC ¶¶ 67–68.) Mr. Brown, Mr. Batinich and AW

allegedly engaged in similar independently tortious conduct, which was also tied to

alleged interference with MRI’s prospective business relationships. (SAC ¶¶ 53, 85–89.)


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              Retaining Business

       Finally, the defendants argue that Count VI should be dismissed because MRI

failed to show that it would have retained the allegedly stolen business. They argue that

MRI had no presence in Minnesota to service any clients, and after the Wendy Deal

failed to materialize, “[i]f Wendy didn’t keep going the Minnesota business would have

cratered thus there is no possible expectation.” (MTD Mem. at 19.) Again, the Court

disagrees that this is a basis for dismissal. The SAC alleges that MRI had just paid a

significant sum to purchase the acquired entities in September of 2017, and intended to

grow the All-Calls business model throughout the country. (SAC ¶¶ 14, 19.) Some of the

acquired businesses were Minnesota companies. (SAC ¶¶ 20–21.) These allegations

support an inference that MRI had a basis to expect continued relationships with the

Minnesota companies as a result of the September 2017 purchase agreements. Perhaps

the defendants will be able to convince a finder of fact that Wendy’s ongoing

involvement was the only way that the Minnesota businesses could have continued to

operate, but that is not an appropriate consideration for a motion to dismiss.

       E. Malicious Injury Claim (Count III)

       The defendants seek dismissal of the “malicious injury” claim in Count III of the

SAC. Under Minnesota law, a claim for “malicious wrong” was recognized as a distinct

claim from defamation based on statements made by a defendant about a plaintiff’s

business. Marudas v. Odegard, 10 N.W.2d 233 (Minn. 1943). This claim requires

allegations that “the defendant maliciously intended to injure the plaintiff by his words

and succeeded in his malicious intent, and damage to the plaintiff was the direct result of


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the defendant’s words, ... whatever the nature of the words, provided they are untrue.” Id.

at 235; see also Keckhafer v. Prudential Ins. Co. of Am., No. CIV.01-1017 RHK/AJB,

2002 WL 31185866, at *5 (D. Minn. Oct. 1, 2002) (“Thus, where a plaintiff alleges that a

defendant maliciously intended to injure him or her by communicating false words and

has succeeded in that malicious intent, and damage to the plaintiff is the direct result of

the defendant’s untrue words, a claim exists under Minnesota law upon which relief can

be granted.”).

        The defendants argue that the SAC includes no allegations showing that they had

the requisite intent to harm MRI. (MTD Mem. at 19–20.) The Court disagrees. The SAC

specifically asserts that each of the defendants took steps to intentionally harm MRI’s

business by making false statements to MRI’s employees and customers. This allegation

of intentional misconduct is, in fact, the gravamen of the entire pleading, and it is

reasonable to infer the defendants’ intended to harm MRI from the allegations set forth in

the SAC. (SAC ¶¶ 113–15.)7 The defendants’ motion to dismiss Count III should be

denied.

        F. Defamation Claim (Count IV)

        The defendants assert that the defamation claim in Count IV of the SAC should be

dismissed. “Defamation under Minnesota law requires proof that the alleged defamatory

statement (1) was communicated to someone other than the plaintiff, (2) was false, and




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        Again, the defendants complain that the allegation in Paragraph 113 of the SAC is too conclusory
(Defs.’ Reply at 6), but that assertion is not the only one in the pleading that bears upon the issue of
malicious intent; the defendants ignore the broader context of the allegations.


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(3) tended to harm the plaintiff’s reputation and lower [the plaintiff] in the estimation of

the community.” Thomas v. United Steelworkers Local 1938, 743 F.3d 1134, 1142 (8th

Cir. 2014) (quoting Chambers v. Travelers Cos., 668 F.3d 559, 564 (8th Cir. 2012))

(alteration in Thomas). A false statement that “affects the plaintiff in his business, trade

profession, office or calling ... is defamation per se....” Id. (quoting Bahr v. Boise

Cascade Corp., 766 N.W.2d 910, 920 (Minn. 2009)). Statements of opinion are not

actionable, but statements that “present or imply the existence of fact that can be proven

true or false” are. Id. (quoting Gacek v. Owens & Minor Distrib., Inc., 666 F.3d 1142,

1147 (8th Cir. 2012). Whether a statement is true or false is generally a jury question. Id.

(citing Keuchle v. Life’s Companion P.C.A., Inc., 653 n.W.2d 214, 218 (Minn. Ct. App.

2002)).

              More than Employee Confusion

       The Court disagrees that dismissal of the defamation claim is required under

Rule 12(b)(6). The defendants argue that dismissal is required because the SAC contains

no allegation of harm to MRI’s reputation in the community, but claims only that some

employees “were confused as a result of the failure of the Wendy Deal.” (MTD Mem. at

21.)

       The relevant allegations do more than merely indicate that some employees were

confused as a result of the failure of the Wendy Deal. The SAC asserts that Mr. Batinich,

at the direction of Mr. Brown and Ms. Brown, defamed MRI to its employees by falsely

stating at an October 30, 2017 emergency team meeting: (1) that they needed to agree to

be a part of an AW affiliate (Experience Call Center Recruiting) or they would lose their


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commissions; and (2) that MRI could not perform the services provided by AW and its

affiliate. (SAC ¶ 62.) These same statements allegedly indicated that MRI “did not have

any business.” (SAC ¶ 117.) MRI alleges that on October 31, and November 1, 2017, the

defendants directed Mr. Berg to make false statements to MRI’s customers “that MRI had

no ability to perform the services being rendered by A.W. as the purported successor in

interest to ARI[.]” (Id. ¶ 118.)

        It is reasonable to infer that alleged lies to MRI’s customers harmed MRI’s

reputation in the relevant business community. The allegedly false statements imply that

MRI was offering to do work for its customers that it could no longer perform because

AW had taken over the acquired businesses.8 The claimed statements are allegedly false

because, according to the SAC, AW had not, in fact, succeeded in interest to any of the

acquired businesses after the plan to sell back certain business to Ms. Brown was

abandoned. The allegations on this point are adequate to survive dismissal under Rule

12(b)(6).

                Actionable Defamatory Statements

        The defendants next contend that the allegations of false statements are

insufficient because the defendants are only accused of stating that MRI’s business would



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         The defendants assert: “Plaintiff cannot simultaneously state a claim that Defendants took its
business and meanwhile allege it was defamatory for Defendants to say they took the business.” (Defs.’
Reply at 8.) This is a distortion of the SAC’s allegations. MRI does not allege that the defendants
truthfully told MRI’s customers that the Wendy Deal fell through, that they were starting another
business, and that they would simply like to take on MRI’s customers as clients. That might indeed be
legitimate competition between businesses. The SAC instead alleges that the defendants lied to MRI’s
customers, telling them that MRI could no longer perform the services they needed and that AW and
Ms. Brown had effectively purchased back the acquired businesses from MRI.


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be in jeopardy without Ms. Brown or Mr. Berg. (MTD Mem. at 21–22.) Again, a close

examination undermines this argument. Language supporting this argument appears

nowhere in the SAC. Instead, the defendants appear to be placing their own gloss on the

litigation and grafting it onto the SAC. To credit this argument would be both to read into

the SAC allegations that are not present and to take inferences in the defendants’ favor.

Rule 12(b)(6) does not permit either analysis. While the defendants may be able to

convince a fact finder that its version of these facts is correct, the Court declines to

consider that alternative narrative at this stage.

       For these reasons, the Court declines to recommend dismissal of Count IV of the

SAC.

       G. Unjust Enrichment Claim (Count VII)

       The defendants seek dismissal of the unjust enrichment claim in Count VII of the

SAC. To plead an unjust enrichment claim a plaintiff “must establish an implied-in-law

or quasi-contract in which the defendant received the benefit of value that unjustly

enriched the defendant in a manner that is illegal or unlawful.” Caldas v. Affordable

Granite & Stone, Inc., 820 N.W.2d 826, 838 (Minn. 2012). While a party may not

recover for both breach of contract and unjust enrichment claims, a plaintiff is permitted

to allege the claims as alternative theories of recovery until there is a conclusive decision

“that a valid and enforceable contract exists between the parties which governs the

specific dispute before the court.” Spectro Alloys Corp. v. Fire Brick Engineers Co., 52 F.

Supp. 3d 918, 932 (D. Minn. 2014); see also Fed. R. Civ. P. 8(a)(3).




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       The defendants argue that SAC fails to allege what each individual defendant

received, particularly highlighting an absence of allegations regarding Mr. Batinich and

Mr. Brown. (MTD Mem. at 23; Defs.’ Reply at 8.) The Court finds that the defendants

are once again overlooking relevant allegations in the SAC. Mr. Batinich is adequately

alleged to have received a benefit through his unlawful removal of MRI’s business

information for future use as an employee of MRI. (SAC ¶¶ 31, 65, 71.) Mr. Brown

allegedly owns AW with Ms. Brown. (SAC ¶ 6–7.) The gravamen of the SAC is that AW

and the Browns received substantial benefit through a series of fraudulent actions, as

opposed to legitimate competition, designed to take employees and customers of

businesses that MRI acquired from Mr. Brown and others in September 2017. The Court

finds this is adequate to identify the benefits the individual defendants are alleged to have

wrongfully received.

       The defendants also argue that the unjust enrichment claim should be dismissed

because there are enforceable contracts that make recovery for unjust enrichment

impossible. (MTD Mem. at 23–24.) It is permissible, at this stage, for the SAC to include

both breach-of-contract claims and an unjust-enrichment claim as alternative theories

because there has been no conclusive determination that a valid and enforceable contract

exists between the parties. Spectro Alloys Corp., 52 F. Supp. 3d at 932; Fed. R. Civ. P.

8(a)(3). Accordingly, the motion to dismiss the unjust enrichment claim should be

denied.




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       H. Misappropriation of Trade Secrets Claim (Count XI)

       The defendants argue that the misappropriation-of-trade-secrets claim in Count XI

of the SAC must be dismissed because MRI failed to plead facts supporting the existence

of a trade secret. (MTD Mem. at 23–26.) Count XI of the SAC asserts that AW,

Mr. Batinich and Ms. Brown violated the Defense Trade Secrets Act (“DTSA”), 18

U.S.C. § 1836, et seq., and the Minnesota Uniform Trade Secrets Act (“MUTSA”), Minn.

Stat. §§ 325C.01–.08. (SAC ¶¶ 149–58.)

       To prevail on a misappropriation claim under the DTSA, a plaintiff “must show

both the existence and the misappropriation of a trade secret.” CPI Card Group, Inc. v.

Dwyer, 294 F. Supp. 3d 791, 807 (D. Minn. 2018). “A defendant is liable for

misappropriation of a trade secret [under the MUTSA] if the defendant has acquired the

trade secret through improper means.” Wyeth v. Natural Biologics, Inc., 395 F.3d 897,

900 (8th Cir. 2005). A trade secret is information that “derives independent economic

value, actual or potential, from not being generally known to, and not being readily

ascertainable by proper means by, persons who can obtain economic value from its

disclosure or use” and is “the subject of efforts that are reasonable under the

circumstances to maintain its secrecy.” Minn. Stat. § 325C.01, subd. 5; see also 18

U.S.C. § 1839(3) (providing that information is a trade secret if the owner “has taken

reasonable measures to keep such information secret” and “the information derives

independent economic value, actual or potential, from not being generally known to, and

not being readily ascertainable through proper means by, another person who can obtain

economic value from the disclosure or use of the information”).


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       The defendants rely on Hot Stuff Foods, LLC v. Dornback, 726 F. Supp. 2d 1038

(D. Minn. 2010), to support their argument that MRI failed to adequately allege the

existence of a trade secret. The Hot Stuff court concluded that the plaintiff just parroted

the elements of the claim and held that “[m]erely stating that the information is

confidential is insufficient.” Id. at 1044. Instead, the plaintiff needed to “set forth facts

showing that the information had independent economic value due to its secrecy, was not

readily ascertainable by others, and that [the plaintiff] took efforts to maintain its

secrecy.” Id.

       In this case, the SAC contains sufficient factual allegations to render Hot Stuff

inapposite. For example, the SAC explains how the acquired businesses use a “unique”

and “proprietary system” that has economic value. (SAC ¶ 18.) Among the information

that was allegedly taken at the defendants’ direction was a spreadsheet with contact

information for over 4,400 clients of the Jeane Thorne division of the business that

“belong[ed] to MRI.” (SAC ¶ 148.) The SAC describes the documents and other

information that was allegedly misappropriated by the defendants or at their direction as

requiring “administrator privileges” to access. (SAC ¶ 151.) Mr. Batinich allegedly

downloaded “proprietary information related over 5,000 MRI customers, MRI forms and

databases, substantial private and confidential employee databases … and other sensitive

and confidential information.” (SAC ¶ 146.) In several places, the SAC identifies specific

pieces of information by file name or title that were allegedly misappropriated by the

defendants. (SAC ¶¶ 146, 151.) MRI also alleges facts concerning its efforts to protect

information through the use of “password protection, physical limitations such as locked


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doors and limitations on access by employees within the organizations, as well as by the

use of non-disclosure and confidentiality clauses within MRI’s contracts with its

customers.” (SAC ¶ 33.) These allegations, though perhaps not as detailed as possible in

some respects, are sufficient to give notice to the defendants of the basis on which MRI

claims that the information taken constituted trade secrets within the meaning of the

MUTSA and the DTSA. See TE Connectivity Networks, Inc. v. All Systems Broadband,

Inc., No. 13-cv-1356 (ADM/FLN), 2013 WL 6827348, at *4 (D. Minn. Dec. 26, 2013)

(concluding that “somewhat vague” allegations were nevertheless sufficient to state a

trade secrets claim “when the allegations are viewed as a whole”); Matson Logistics, LLC

v. Smiens, No. 12-cv-400 (ADM/JJK), 2012 WL 2005607, at *10 (D. Minn. June 5,

2012) (concluding that similar allegations were sufficient to state an MUTSA

misappropriation of trade secrets claim).

       Accordingly, the motion to dismiss the misappropriation-of-trade-secrets claim in

Count XI of the SAC should be denied.

       I. Breach of Stock Purchase Agreement and Rule 12(b)(3)

       The defendants argue that two claims for breach of the Stock Purchase Agreement

in Counts VIII and X of the SAC must be dismissed pursuant to Rule 12(b)(3) because

they are subject to a forum-selection claim in the contract requiring that they be litigated

in Chicago. (MTD Mem. at 26–27.) The Stock Purchase Agreement contains a forum-

selection clause requiring either federal or state litigation to take place in Chicago. (Stock

Purchase Agreement § 9.7.)




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        A motion to transfer venue under 28 U.S.C. § 1404(a) is a more appropriate

vehicle for enforcing a forum-selection clause than a motion to dismiss under

Rule 12(b)(3). Ragovsky Enterprise, Inc. v. Masterbrand Cabinets, Inc., 88 F. Supp. 3d

1034, 1040 (D. Minn. 2015) (citing Atl. Marine Const. Co., Inc. v. U.S. District Court for

the Western District of Texas, et al., 571 U.S. 49, 60–61 (2013)); Steward v. Up North

Plastics, Inc., 177 F. Supp. 2d 953, 957 (D. Minn. 2001). The defendants do not argue

that the District of Minnesota is actually an “improper” venue for this action pursuant to

28 U.S.C. § 1391. The Court will not further consider whether dismissal is appropriate

under Rule 12(b)(3).9 See Ragovsky, 88 F. Supp. 3d at 1041 (analyzing first whether

Minnesota is a proper venue under § 1391 “without regard to the forum-selection

clause”).

        In light of this precedent, the Court will construe the defendants’ argument to be

one for transfer of venue pursuant to 28 U.S.C. § 1404(a). However, the Court declines to

transfer venue to a Chicago forum at this stage because the parties and this Court have

already invested significant effort and resources litigating the matter here. And although

the defendants could have raised the issue of the forum-selection clause much sooner,

they waited until now to do so. A claim for breach of the Stock Purchase Agreement was

first alleged in the First Amended Complaint, which the defendants answered on

December 5, 2017. (First Am. Compl., ECF No. 59; Defs.’ Answer to First Am. Compl.,

ECF No. 72.) The defendants did not raise any objection to venue in that answer, nor did


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        The defendants state that the breach-of-contract claims should be dismissed with prejudice, but
offer no support for such a disposition of these claims. (Dismissal Mem. at 27.)


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they file a motion to transfer venue at that time. Moreover, MRI originally sued

Mr. Batinich in the Northern District of Illinois, he requested that his case be transferred

to the District of Minnesota, and that request was granted so that the Illinois litigation

could be consolidated with this case. Management Registry, Inc. v. Batinich, No. 18-cv-

1147-JRT-KMM, Doc. Nos. 19, 55. Transferring a portion of this case regarding the

alleged breach of the Stock Purchase Agreement by Mr. Brown would be antithetical to

judicial economy and a waste of the parties’ resources. See Steward, 177 F. Supp. 2d at

959–60 (declining to transfer litigation that had been pending for several years based on

concerns for judicial economy).

       J. Indemnification Claim (Count X)

       The SAC alleges that in Section 8.2 of the Stock Purchase Agreement, the sellers,

including Mr. Brown, agreed to indemnify MRI against “any and all Losses incurred or

sustained by, or imposed upon, [MRI] based upon, arising out of, with respect to or by

reason of … any breach or nonfulfillment of any covenant, agreement or obligation to be

performed by Sellers pursuant to th[e] Agreement.” (SAC ¶ 147; Stock Purchase

Agreement § 8.2.) MRI alleges that Mr. Brown violated his agreement to abide by

noncompete and nonsolicitation restrictions pursuant to § 6.5 of the Stock Purchase

Agreement and that he is required to indemnify them for the losses incurred as a result of

those violations. (SAC ¶ 148.)

       The defendants contend that MRI’s indemnification claim fails under the plain

language of the Stock Purchase Agreement requiring that notice must be given to Brown

within one year of the closing. (MTD Mem. at 27 (citing Stock Purchase Agreement


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§ 8.5).) However, the defendants fail to explain why an indemnification claim falls within

this notice provision through any analysis of the contract’s language or exploration of

relevant authority. The Court declines to analyze this argument in more detail than the

defendants chose to employ.

       The defendants also argue that this claim should be dismissed because no damages

have been alleged that are not expressly excluded by § 8.4 of the agreement. (MTD Mem.

at 28.) That provision provides that:

       In no event, shall an Indemnifying Party be liable to an Indemnified Party
       for any punitive, incidental, consequential, special or indirect damages,
       including loss of future revenue or income, loss of business reputation or
       opportunity relating to the breach or alleged breach of this Agreement, or
       diminution in value or any damages based on any type of multiple.

(Stock Purchase Agreement § 8.4(e).) All the defendants offer on this point is to state: “In

this case all of the alleged damages fit these excluded categories. The sparsely pled

damages are limited to consequential future lost income and that is it.” (MTD Mem. at

28; see also Defs.’ Reply at 11 (“In its Second Amended Complaint Plaintiff does not

allege any harms or losses that do not fit these categories”).)

       For three reasons, the Court finds this argument unpersuasive. First, the defendants

leave it to the Court to fill in the blanks about why the language of the Stock Purchase

Agreement supposedly forecloses the plaintiff’s particular indemnification claim. The

Court declines to come up with the rationale for dismissal on this point when the

defendants did not do so. Second, the defendants do not point to any language in the SAC

that limits the damages sought to consequential future lost income. And third, the

question of whether the plaintiff’s alleged damages fall within the excluded categories of


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this provision of the Stock Purchase Agreement is better resolved at summary judgment,

or if necessary, by the fact finder after a trial. Defendants cite no case law indicating that

such a breach-of-contract damages question should be resolved on the pleadings.

         Finally, the defendants argue that the indemnification claim should be dismissed

“because it is expressly limited to amounts set off from the purchase price which was

paid.” (MTD Mem. at 28 (quoting Stock Purchase Agreement § 8.7.) Again, the

defendants do nothing more than cite a provision of the agreement and state their

argument in a conclusory fashion. The Court will not endeavor to put flesh on the bare

bones of this suggestion.

         K. Breach of Contract Claim Against Mr. Batinich (Count VIII)

         The defendants assert that the breach of contract claim against Mr. Batinich must

be dismissed because MRI seeks to enforce convenants in an agreement he entered with

MMDK, Inc., that could not be assigned to MRI. (MTD Mem. at 29–30.) They argue that

Mr. Batninich’s employment agreement with MMDK, Inc., prohibits any assignment to

MRI because the contract did not refer to successors. (Id.) Mr. Batinich’s employment

agreement with MMDK (one of the businesses that MRI acquired from Mr. Brown and

the other sellers) does not include express language either permitting or prohibiting

assignment of the contract to MMDK’s successor. (Batinich Agreement, Ex. C to Mot. to

Dismsis, ECF No. 266-3.) The SAC alleges that “[t]he Batinich Agreement was assigned

to MRI pursuant to the Asset Purchase Agreement dated September 11, 2017.” (SAC

¶ 31.)




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       Under Illinois law,10 an employer may assign a restrictive covenant, such as a non-

compete agreement, to a corporate purchaser, even in the absence of explicit contract

language. AutoMed Technologies, Inc. v. Eller, 160 F. Supp. 2d 915, 923–24 (N.D. Ill.

2001) (holding that a corporate acquirer may enforce restrictive covenants in employment

contracts against employees where the agreements are silent on the issue of assignment);

see also Unisorce Worldwide, Inc. v. Carrara, 244 F. Supp. 2d 977, 981–82 (C.D. Ill.

2003) (adopting the rational of AutoMed); Guidant Sales Corp. v. George, 2001 WL

1491317, at *6 (D. Minn. 2001) (concluding that a non-compete agreement could be

enforced by corporate successor against employee and citing AutoMed). Based on this

case law and the allegations in the SAC, the Court rejects the defendants’ argument that

the breach-of-contract claim in Count VIII must be dismissed based on the absence of an

express assignment or successor clause in the Batinich Agreement.

       L. Duty of Loyalty Claim (Count IX)

       The defendants next argue that MRI’s breach-of-duty claim against Mr. Batinich

“fails as a matter of law because he was never employed by MRI” and the allegations that

he was are “wholly conclusory.” (MTD Mem. at 30.) Defendants’ position, which

consists of one paragraph, is completely unsupported by citations to the record,

references to supporting caselaw, or any reasoned argument.


10
         The Batinich Agreement with MMDK states: “[t]he terms of this Agreement shall be construed in
accordance with the laws of the State of Illinois applicable to agreements made in Illinois.” (Batinich
Agreement § 6.4.) The defendants rely on the District Court’s decision in GreatAmerica Leasing Corp. v.
Dolan, No. 10-cv-4631 (JRT/JJK), 2011 WL 334829, at *5 (D. Minn. Jan. 3, 2011), to support the
argument that the Batinich Agreement cannot be assigned to MRI as a result of the acquisition. However,
Dolan did not involve a contract governed by Illinois law and the defendants do not explain why it
applies in this case.


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       The SAC alleges that “Mr. Batinich accepted employment with MRI, under the terms of

the acquisition, as Director of Sales, as a W-2 employee of AllStaff, Inc….” (SAC ¶ 31.) It is

difficult to comprehend what more the defendants believe is necessary to adequately plead an

employment relationship between a plaintiff and defendant than an allegation that a defendant

was an employee of the plaintiff’s business. Here, the defendants clearly have notice of the basis

for the allegation that Mr. Batinich was MRI’s employee and violated his duty of loyalty. After

he became employed by MRI, he is accused of breaching the duty of loyalty by engaging in

conduct for the benefit of the other defendants. (SAC ¶¶ 28–33, 136–45.) These allegations are

sufficient to assert a duty-of-loyalty claim and the Court will not recommend dismissal of

Count IX of the SAC. If the defendants are alleging that, factually, this claim must fail

because Mr. Batinich was not an employee of MRI, that is an argument properly made to

the fact finder in this case.

       M. Conversion Claim (Count I) and Civil Theft Claim (Count XIII)

       The defendants assert that the conversion claim in Count I and the civil-theft claim

in Count XIII of the SAC should be dismissed. A claim for conversion under Minnesota

law lies where the defendant engages in “an act of willful interference with personal

property, done without lawful justification by which any person entitled thereto is

deprived of use or possession.” DLH, Inc. v. Russ, 566 N.W.2d 60, 71 (Minn. 1997). A

civil-theft claim is governed by Minn. Stat. § 604.14. Section 604.14 provides that “[a]

person who steals personal property from another is civilly liable to the owner of the

property for its value when stolen plus punitive damages of either $50 or up to 100

percent of its value when stolen, whichever is greater.” Id. § 604.14, subd. 1.



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              Specific Identification of Property

       The defendants argue because “MRI has completed sufficient discovery so that it

could plead exactly what was ‘stolen’ if anything was taken so there’s no sense in waiting

for a Motion for Summary Judgement to dispose of these two claims.” (MTD Mem. at

30–33.) The Court disagrees.

       Contrary to the Defendants’ argument, the SAC adequately alleges the property

that the defendants are accused of having taken from MRI. The SAC identifies “at least

78 internal computers, all of the ‘in-home” computers utilized by the temporary staff (at

least 200 computer terminals, 400 monitors, and 200 headsets), and thousands of

confidential and proprietary materials and documents (electronic).” (SAC ¶ 94; see also

id. ¶ 90.) The Court will not recommend dismissal of Counts I and XIII.

              Absence of Justification

       The defendants also contend that MRI has not alleged facts showing that the

defendants’ actions with regard to the property were not legally justified. (MTD Mem. at

32.) Again, the defendants’ argument is unavailing. The SAC alleges that Mr. Brown and

Mr. Batinich stole physical property from MRI and that Ms. Brown directed others to

take MRI’s confidential information out of MRI’s office suite in boxes. (SAC ¶¶ 58–59,

91.) Coupled with the allegations that the defendants were falsely representing that

Ms. Brown and AW had purchased portions of the acquired businesses back from MRI,

the SAC provides a sufficient basis for the Court to infer that the taking of MRI’s

property lacked justification.




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       For these reasons, the motion to dismiss Counts I and XIII of the SAC should be

denied.

       N. Civil Conspiracy Claim (Count XII)

       The defendants argue that MRI’s claim for civil conspiracy in Count XII of the

SAC should be dismissed “as superfluous” because Minnesota law only recognizes such

a claim as a means of imposing joint and several liability against multiple defendants.

(MTD Mem. at 33–34.) The defendants’ reply clarifies that they are arguing this civil-

conspiracy claim “fails because the underlying tort claims fail.” (Defs.’ Reply at 14.) The

Court has not concluded that any of the underlying tort claims fail based on the pleadings

alone and therefore declines to recommend dismissal of Count XII as superfluous.

       O. Speculative Damages

       Finally, the defendants argue that every one of MRI’s claims in the SAC ought to

be dismissed because it fails to plead that MRI suffered any damages that are not

speculative. (MTD Mem. at 34.) This argument is unsupported by any citation to case

law dismissing a complaint for failure to state a claim based on the speculative nature of

claimed damages. The Court will not recommend dismissal of any claims based on this

argument.

       P. Conclusion

       For the reasons discussed above, the Court concludes that the motion to dismiss

should be denied.




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II.   Motion to Strike

      In their motion to strike, the defendants assert that MRI’s request for punitive

damages should be removed from the SAC because MRI failed to make a motion to

amend, pursuant to Minn. Stat. § 549.191, and because the evidence does not support a

claim for punitive damages. (Strike Mem. at 3–8.) Rule 12(f) provides that “[t]he court

may strike from a pleading an insufficient defense or any redundant, immaterial,

impertinent, or scandalous matter.” Fed. R. Civ. P. 12(f). As discussed below, the Court

recommends that the motion to strike be denied.

      This is not the first time that the issue of pleading punitive damages has been

addressed in this case. MRI previously moved to amend its First Amended Complaint and

to add a claim for punitive damages after the defendants sought judgment on the

pleadings. MRI supported that motion to amend by reference to several affidavits. (ECF

Nos. 206–12.) However, the Court did not rule on MRI’s motion to amend because the

parties agreed to a procedure by which the plaintiff’s proposed amended claims could be

addressed more efficiently. (ECF Nos. 244, 250.) Namely, the parties agreed that MRI

could file its Second Amended Complaint and, if desired, the defendants could move to

dismiss any claims they believed were inadequately pled. (ECF No. 250.)

      In support of their motion to strike, the defendants cite several cases from this

District applying Minn. Stat. § 549.191 to motions to add punitive damages, which is

sometimes referred to as the “gatekeeping statute.” Though these cases consistently held

that a party seeking to allege punitive damages under Minnesota law was required to




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make a motion conforming to the gatekeeping statute,11 that proposition has recently been

rejected by a number of decisions holding that the gatekeeping statute’s evidentiary

standard is inapplicable in federal court.12 See, e.g., In re Bair Hugger Forced Air

Warming Devices Prods. Liab. Litig., MDL No. 15-2666 (JNE/FLN), 2017 WL 5187832

(D. Minn. July 27, 2017) (concluding that the gatekeeping statute’s standard governing

amendment is inapplicable in federal court because it conflicts with the standards of Fed.

R. Civ. P. 15); see also Shank v. Carleton College, No. 16-cv-1154 (PJS/HB), 2018 WL

4961472, at *4 (D. Minn. Oct. 15, 2018) (collecting cases). Instead, these cases hold that

the standards governing a futility challenge to a motion to amend under Fed. R. Civ. P. 15

must be applied to determine whether a pleading adequately alleges a basis for recovery

of punitive damages. Shank, 2018 WL 4961472, at *4 (“[T]he Court is required to view

the [proposed second amended complaint] through the permissive Rule 15 lens, but must

nevertheless determine whether it states a plausible claim for punitive damages in light of

substantive Minnesota law.”)

        Given the recent shift in the case law and the procedural history discussed above,

the Court concludes that the question of the propriety of pleading punitive damages in

this case should be analyzed as though MRI had filed a motion to amend and the

defendants raised a futility challenge. Considering the allegations under that framework,


11
        See, e.g., Ulrich v. City of Crosby, 848 F. Supp. 861 (D. Minn. 1994).
12
        At least one of these more recent cases has questioned whether the gatekeeping statute’s
requirement that a party must move to amend, rather than simply requesting punitive damages in an initial
pleading, should be applied in federal court. Rogers v. Mentor Corp., No. 12-cv-2602 (SRN/SER), 2018
WL 2215519, at n.16 (D. Minn. May 15, 2018) (noting that the gatekeeping statute’s prohibition on
including punitive damages in an initial complaint may conflict with Fed. R. Civ. P. 8 and 9).


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the Court has determined above that the SAC adequately alleges several torts where

punitive damages may be recoverable. The Court further concludes that the SAC contains

sufficient facts, accepted as true, that state a plausible claim for punitive damages under

Minnesota law. Accordingly, the Court concludes that the defendants’ motion to strike

should be denied.

III.   Recommendation

Based on the discussion above, IT IS HEREBY RECOMMENDED THAT:

   1. Defendants’ Motion to Dismiss Pursuant to 12(b)(6) and 12(b)(3) (ECF No. 255)

       should be DENIED.

   2. Defendant’s Motion to Strike (ECF No. 256) should be DENIED.


 Date: September 12, 2019                      s/Katherine Menendez
                                               Katherine Menendez
                                               United States Magistrate Judge

                                         NOTICE
       Filing Objections: This Report and Recommendation is not an order or judgment
of the District Court and is therefore not appealable directly to the Eighth Circuit Court of
Appeals.

       Under Local Rule 72.2(b)(1), “a party may file and serve specific written
objections to a magistrate judge’s proposed finding and recommendations within 14 days
after being served a copy” of the Report and Recommendation. A party may respond to
those objections within 14 days after being served a copy of the objections. LR
72.2(b)(2). All objections and responses must comply with the word or line limits set for
in LR 72.2(c).

       Under Advisement Date: This Report and Recommendation will be considered
under advisement 14 days from the date of its filing. If timely objections are filed, this
Report and Recommendation will be considered under advisement from the earlier of: (1)
14 days after the objections are filed; or (2) from the date a timely response is filed.


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